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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JESSE KORMAN,

                                  Plaintiff,                     Docket No. 1: l 9-cv-09047 (CM)

         - against -

                                                                     USDCSDNY
 THE BRONX CHRONICLE L.L.C.                                          DOCUMENT
                                                                     ELECTRONICALLY Fll,ED
                                  Defendant.
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                             ti?R:ffJIM-DEFAULT JUDGMENT

       Upon consideration of the Plaintiff's motion for default judgment under Rule 55 .2(b)(2)

of the Federal Rules of Civil Procedure and Local Rule 55.2 ; and the declaration of plaintiff's

counsel Richard Liebowitz and exhibits attached thereto, the Statement of Damages and upon all

prior papers and proceedings filed herein , it is hereby:

        ORDERED, ADJUDGED and DECREED that:

        1.       Default judgment as to liability for copyright infringement under 17 U .S.C. § 501

                 be entered against defendant The Bronx Chronicle L.L.C. ("Defendant");

        2.       Default judgment as to liability for unauthorized removal and/or alteration of

                 copyright management information in violation of 17 U.S .C. § l 202(b) be entered

                 against Defendant;

        3.       Defendant is to pay $2 ,000 .00 in actual damages under 17 U .S .C. § 504(b) for

                 copyright infringement;
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4.       Defendant is to pay $10,000.00 in statutory damages under 17 U.S.C. §

         1203(c)(3)(B) for removal and/or alteration of copyright management

         information;

5.       Defendant is to pay $2125 .00 in attorneys' fees and $440 .00 in costs pursuant to

         17 U.S.C. § 1203(b)(5);

6.       Defendant is to pay post-judgment interest under 28 U.S.C.A. § 1961;

7.       the Court retain jurisdiction over any matter pertaining to this judgment;

8.       this case is dismissed and the Clerk of the Court shall remove it from the Court

         docket.




New York, ~yr           /

Dated:    S - / ~ , 2020


                                                      Hon. Colleen McMahon (U.S.D.J.)
